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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT
                      Case No. 24-2788 and 24-3057

 PG PUBLISHING CO., INC. d/b/a
 PITTSBURGH POST-GAZETTE,

              Petitioner/Cross-Respondent,

       v.

 NATIONAL LABOR RELATIONS
 BOARD,

              Respondent/Cross-Petitioner,

       and

 NEWSPAPER GUILD OF
 PITTSBURGH/CWA LOCAL 38061,

              Intervenor.


INTERVENOR’S RESPONSE TO PG PUBLISHING CO.’S MOTION FOR
  CLARIFICATION OF ORDER GRANTING INJUNCTIVE RELIEF IN
                         PART
      PG Publishing Co., Inc., d/b/a Pittsburgh Post-Gazette (“Post-Gazette” or the

“Company”) has moved for clarification of this Court’s March 24, 2025, Order

granting in part, and denying in part, the National Labor Relations Board’s request

for National Labor Relations Act 10(e) injunctive relief. [ECF No. 59]. The Post-

Gazette’s Motion is a poorly disguised request to modify and evade the terms of this

Court’s Order. Intervenor Newspaper Guild of Pittsburgh/CWA Local 38061


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(“Union” or the “Guild”) respectfully requests that the Post-Gazette Motion be

denied as a bad-faith attempt modify the terms of the Order and to cause unnecessary

delay that will result in further irreparable harm. The Union reserves the right to seek

sanctions against the Post-Gazette for their refusal to comply with the plain meaning

of the Order. See Fed. R. Civ. P. 11(b)(1).

        The terms of the Order are clear: on the request of the Union, the Post-Gazette

must reinstate the previous terms and conditions of employment related to health

insurance. This includes returning to the same health care plan as negotiated in the

expired 2014-2017 Collective Bargaining Agreement (JA0542). The Union has

requested, via a letter sent to the bargaining representative of the Post-Gazette, that

the Post-Gazette comply with the Order and reinstate the preexisting terms and

conditions related to health insurance.1

        There is no ambiguity in the Order. On July 26, 2020, the Post-Gazette

provided its employees with health insurance through the Teamsters Welfare Fund

as outlined in the expired CBA. id. On July 27, 2020, the Post-Gazette unilaterally

imposed its own health insurance plan. An Order to rescind the unilateral changes to

health insurance simply means returning to the health care terms and conditions of

employment in existence before July 27, 2020. As the Post-Gazette’s own reporting




1
 The Union expects the Company to continue to provide the current healthcare plan to those employees in the plan
until the previous plan is reinstated.

                                                        2
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describes, the Court’s Order requires the Post-Gazette to “restor[e] insurance

coverage that was in effect in 2020.” (See Post-Gazette digital publication March

24, 2025 7:54 p.m.)

      The Motion for Clarification suggests that rather than reinstating the previous

terms and conditions, the Post-Gazette merely has to engage in “effects bargaining”

over a replacement plan. This perverts the language of the Order. It is from this

disfigurement that the Post-Gazette invents the lapse in coverage issue it describes

in its Motion for Clarification. Contrary to the Post-Gazette’s assertions, complying

with the terms of the Order would not result in a lapse in coverage for any of the

employees referred to in the Motion. The Order requires that the Post-Gazette

provide coverage for its employees, under the terms that existed prior to the

unilateral implementation of the current plan on July 27, 2020. Indeed in McClatchy

Newspaper, Inc. d/b/a The Fresno Bee and Graphic Communications International,

Local 404, AFL-CIO (339 NLRB No. 158) (2003), the Board set forth the long-

accepted principles regarding unilateral changes.


             “The Respondent excepts to the requirement in the judge’s order
      that the unilateral scheduling changes it made on May 17, 1999, be
      rescinded, pointing out that these changes merely reversed some of the
      changes it had made on March 1, 1999, which we have found unlawful.
      Because some of the Respondent’s unilateral changes may be
      perceived as beneficial to employees, we will order the recission of
      these changes only at the request of the Union (citing case) That is,
      the normal remedy for the unlawful changes of March 1 would be
      to restore the status quo ante, but to give the union the choice to
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        retain any changes deemed beneficial. The Respondent could not
        avoid this remedy by engaging in its further unilateral conduct….”
        McClatchy Newspaper, Inc. d/b/a The Fresno Bee and Graphic
        Communications International, Local 404, AFL-CIO, 339 NLRB No.
        158, 1216, n. 6. (Emphasis added)2


        The suggestion that the Post-Gazette and the Guild need to engage in effects

bargaining over the change to the health insurance plan is absurd. The unilateral

change to the health insurance plan occurred in 2020. This Court’s Order requires

that change be undone, and the healthcare plan in effect prior to the illegally

implemented healthcare be restored. Under the Post-Gazette’s theory when

considering the fact that the PG’s initial healthcare proposal made in 2017 never

changed in eight (8) years of bargaining suggests little hope a new healthcare

agreement would be promptly agreed upon. Moreover, under the PG’s theory when

the union requests the illegally implemented healthcare be rescinded, the employees

would be left without any healthcare pending a new agreement in “effects

bargaining.” Such conduct is nothing but a prescription to perpetuate the PG’s

delaying tactics which will cripple the union’s bargaining position and be

devastating to the employees. The PG’s position is totally unacceptable and

inconsistent with extant board precedent and this Court’s order.




2
 See also Great Western Broadcasting Corporation d/b/a KXTV and San Francisco Local of the American
Federation of Television and Radio Artists, AFL CIO, 139 NLRB 93

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      The Guild will, of course, continue to bargain towards a successor collective

bargaining agreement, but there is no need for the parties to engage in effects

bargaining over the Order to reinstate the health plan that the Company unilaterally

eliminated.




                                                    Respectfully submitted,

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Date: April 4, 2025




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       and

 NEWSPAPER GUILD OF
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              Intervenor.

      CERTIFICATE OF BAR MEMBERSHIP, COMPLIANCE WITH
TYPE VOLUME LIMITATION AND TYPEFACE REQUIREMENTS, AND
                      VIRUS CHECK
      I, Joseph J. Pass, counsel for Newspaper Guild of Pittsburgh/CWA Local

38061, certify, pursuant to Local Appellate Rule 28.3(d) that I am a member in

good standing of the Bar of the Court of Appeals for the Third Circuit. I further

certify pursuant to Fed. App. P. 32(g) that this document complies with the word

limit of Fed. R. App. P. 27(d)(2) because the foregoing document contains 1,109

words (not counting portions excluded from the word count by Rule 32(f)), and

this document complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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and the type-style requirements of Fed. R. App. P. 32(a)(6) because the document

is proportionately spaced and has a typeface of 14-point Times New Roman. I

further certify that no virus was detected on this file.




Date: April 4, 2025                             /s/ Joseph J. Pass
                                                       Joseph J. Pass, Esquire




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 PITTSBURGH/CWA LOCAL 38061,

              Intervenor.


                              CERTIFICATE OF SERVICE

      I, Joseph J. Pass, counsel for Newspaper Guild of Pittsburgh/CWA Local

38061, certify that on April 4, 2025, I filed the foregoing Response to PG

Publishing Co.’s Motion for Clarification via the Court’s CM/ECF system, causing

a Notice of Docket Activity and a copy of the filing to be served upon the

following counsel of record who are registered CM/ECF users:

                                      Ruth E. Burdick
                                        David Seid
                                  Milakshmi V. Rajapakse
                                      Meredith Jason
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      Pursuant to Local R. App. P. 27.2, no paper copies of this motion will be

filed unless directed by the Clerk.

Date: April 4, 2025                                 /s/Joseph J. Pass
                                                    Joseph J. Pass, Esquire




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